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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


SHANE VINALES, ET AL.,                             §
                                                   §
                   Plaintiffs,                     §                  5-19-CV-01280-RBF
                                                   §
vs.                                                §
                                                   §
AETC II PRIVATIZED HOUSING, LLC,                   §
ET AL.,                                            §
                                                   §
                   Defendants.                     §

                                               ORDER

       Before the Court is Defendants’ Motion for Protective Order. Dkt. No. 398. The Court

held an in-person hearing regarding the issue of trial publicity on June 2, 2023. The parties

briefly discussed the pending motion at the hearing, and counsel for all parties agreed to refrain

from issuing press releases or engaging in inappropriate trial publicity until after a verdict is

reached in the Vinales case. The present Vinales trial is the first trial in the overarching case that

has been referred to previously as the Daniels case. The Vinales first trial has already

commenced. But as discussed at the hearing, the Court anticipates there may be a need for an

order to govern publicity in the overarching Daniels case going forward.

       Accordingly, IT IS ORDERED that Defendants’ Motion for Protective Order, Dkt. No.

398, is HELD IN ABEYANCE pending completion of trial. Plaintiffs shall file their response

by no later than three (3) days after a verdict is rendered at trial in the Vinales case. Plaintiffs are

further instructed to provide, along with their response and after conferring with Defendants, a

proposed order containing appropriate limits on trial publicity going forward for the overarching

Daniels case. The Court will likely adopt that order in all related litigation, beyond merely the
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Daniels case. Defendants may file a competing proposed order by the end of the day after

Plaintiffs provide their order.

       IT IS SO ORDERED.

       SIGNED this 6th day of June, 2023.




                                   RICHARD B. FARRER
                                   UNITED STATES MAGISTRATE JUDGE




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